    Case 21-04058          Doc 40       Filed 03/11/21 Entered 03/11/21 14:51:13                   Desc Main
                                          Document     Page 1 of 3




                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

      In re:                                               §   Chapter 11
                                                           §
      SPHERATURE INVESTMENTS LLC,                          §   Case No.: 20-42492
      et al.                                               §
                                                           §   Jointly Administered

                       Debtors.

                                                           §
      SPHERATURE INVESTMENTS LLC,                          §
      et al. d/b/a WORLDVENTURES                           §
      HOLDINGS, LLC1                                       §
                     Plaintiffs,                           §
                                                           §        Adversary No. 21-04058
      vs.                                                  §
                                                           §
      KENNETH E. HEAD,                                     §
                                                           §
                        Defendant.

                                   AMENDED NOTICE OF HEARING

            PLEASE TAKE NOTICE that the Honorable Brenda T. Rhoades, Bankruptcy Judge for

the United States Bankruptcy Court for the Eastern District of Texas (the “Court”), pursuant to

the Order Granting Agreed Motion to Continue March 8, 2021 Hearing [Docket No. 25], has set

the WorldVentures’ Emergency Application for a Temporary Restraining Order and Preliminary

Injunction and Supporting Memorandum (the “Application”) [Docket No. 2] for telephonic

hearing on March 19, 2021 at 10:00 AM (CT).




1
    The “Plaintiffs” and “Debtors” in the above-captioned cases and adversary proceeding are: Spherature Investments
    LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures Marketing Holdings, LLC
    (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV Marketplace”) EIN#6264;
    WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures Services, LLC (“WV Services”)
    EIN#2220.

AMENDED NOTICE OF HEARING                                                                             PAGE 1
4815-8869-8848.1
  Case 21-04058           Doc 40      Filed 03/11/21 Entered 03/11/21 14:51:13           Desc Main
                                        Document     Page 2 of 3



         PLEASE TAKE FURTHER NOTICE that upon request and agreement of the parties,

the hearing on the Application will no longer be conducted via telephonic hearing on March 19,

2021 at 10:00 AM (CT).

         PLEASE TAKE FURTHER NOTICE that the Court has set the Application for video

hearing (video conference) via the Microsoft Teams platform on March 19, 2021 at 10:00 AM

(CT). Parties are instructed to use the following link to join the video hearing: Click here to join

the meeting.

         PLEASE TAKE FURTHER NOTICE that parties are directed to review the instructions

contained      in   the   following    link   for   all   video   hearings   before   Judge   Rhoades:

http://www.txeb.uscourts.gov/content/judgerhoades. The information can be found by accessing

the Court’s webpage at www.txeb.uscourts.gov and choosing “Judge’s Info”, then choosing

“Judge Rhoades”, and then choosing “Video Hearing” Tab. Should any party encounter any issues

or have questions, please contact the Court’s IT Technician, Wes Dabney, at (903) 590-3225.

         PLEASE TAKE FURTHER NOTICE that the all of the pleadings filed in these Cases

and supporting papers are available on the Court’s website at https://ecf.txeb.uscourts.gov/.




AMENDED NOTICE OF HEARING                                                                      PAGE 2
4815-8869-8848.1
  Case 21-04058       Doc 40    Filed 03/11/21 Entered 03/11/21 14:51:13            Desc Main
                                  Document     Page 3 of 3



DATED: March 11, 2021                        Respectfully submitted by:


                                             /s/ Steven C. Lockhart _________
                                             Marcus A. Helt (TX 24052187)
                                             Robert Slovak (24013523)
                                             Steven C. Lockhart (24036981)
                                             Aaron E. Chibli (24091222)
                                             Emily F. Shanks (24110350)
                                             FOLEY & LARDNER LLP
                                             2021 McKinney Avenue, Suite 1600
                                             Dallas, TX 75201
                                             Telephone: (214) 999-3000
                                             Facsimile: (214) 999-4667
                                             rslovak@foley.com
                                             slockhart@foley.com
                                             achibli@foley.com
                                             eshanks@foley.com

                                             COUNSEL FOR THE PLAINTIFFS
                                             SPHERATURE INVESTMENTS LLC, et al
                                             d/b/a WORLDVENTURES HOLDINGS, LLC

                                CERTIFICATE OF SERVICE

       I hereby certify that, on March 11, 2021, a true and correct copy of the foregoing document
was served electronically on all parties in interest by the Court’s ECF system.

                                                    /s/ Steven C. Lockhart
                                                    Steven C. Lockhart




AMENDED NOTICE OF HEARING                                                                 PAGE 3
4815-8869-8848.1
